Case 1:19-cv-11046-NMG Document 13 Filed 10/02/20 Page 1of 3

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

OTHUMAN NTALE,
Plaintiff,

Civ. Action No. 19-11046-NMG

Vv.

MAURA HEALEY, et al.,
Defendants.

a

ORDER

 

October 2, 2020
GORTON, J.

On May 3, 2019, Othuman Ntale (“Ntale”) initiated this action
by filing a complaint that recounted events surrounding Mr. Ntale’s
arrest in March 2019 and subsequent evaluation of his competence
to stand trial. See Docket No. 1. Because the case was filed
without payment of the filing fee, Ntale was granted additional
time to do so. See Docket No. 4. On July 10, 2019, Ntale filed a

motion for leave to proceed in forma pauperis. See Docket No. 5.

 

On September 9, 2019, plaintiff was granted leave to proceed

in forma pauperis. See Docket No. 6. At that time, plaintiff was

 

advised that his complaint was subject to dismissal and he was
granted twenty-one days to file an amended complaint. Id. The
following day, on September 10, 2019, plaintiff filed a request to
dismiss the case. See Docket No. 7.

On September 12, 2019, this action was dismissed without

prejudice pursuant to Rule 41(a) (1) (A) (i). See Docket No. 9. On
Case 1:19-cv-11046-NMG Document 13 Filed 10/02/20 Page 2 of 3

October 7, 2019, the Order was returned to the court as
undeliverable. See Docket No. 10.

Ten months later, on August 11, 2020, Ntale filed a letter
stating that a restraining order was entered against Ntale in state
court and that he seeks to reopen this case against the state court
judge. See Docket No. 11. On October 1, 2020, Ntale filed a letter

concerning the same state court judge. See Docket No. 12.

Relief from judgment pursuant to Fed. R. Civ. P. 60(b) is
‘committed to the district court’s sound discretion.” Stonkus v.

City of Brockton Sch. Dept. , 322 F.3d 97, 100 (1st Cir. 2003).

 

The rule provides several ground for relief from a judgment or
order, including “excusable neglect,” and “any other reason that
justifies relief.” Fed. R. Civ. P. 60(b)(1), (6). The First
Circuit has characterized Rule 60(b) as “a vehicle for
extraordinary relief” and held that motions brought pursuant to
that rule should be granted ‘only under exceptional

circumstances.” Aguiar-Carrasquillo v. Agosto-Alicea, 445 F.3d

 

19, 27 (lst Cir. 2006) (quoting Lepore v. Vidockler, 792 F.2d 272,

 

274 {ist Cir. 1986)). A party seeking relief under Rule 60(b)
must demonstrate “at a bare minimum, that his motion is timely;
that exceptional circumstances exist, favoring extraordinary
relief; that if the judgment is set aside, he has the right stuff

to mount a potentially meritorious claim or defense; and that no
Case 1:19-cv-11046-NMG Document13 Filed 10/02/20 Page 3 of 3

unfair prejudice will accrue to the opposing parties should the

motion be granted.” Fisher v. Kadant, Inc., 589 F.3d 505, 512

 

(lst Cir. 2009) (quoting Karak v. Bursaw Oil Corp., 288 F.3d 15,

 

19 (1st Cir. 2002)).

Here, Ntale’s filings in this closed case failg to provide a
basis for relief under Rule 60(b). To the extent Ntale seeks civil
redress against the judge who presided over the state court
proceedings, the judge has absolute immunity for actions taken
while carrying out traditional adjudicatory functions. Goldstein
¥. Galvin, 719 F.3d. 16, 25 (ist. Giz. 2613). Additionally, if the
state court matter is ongoing, this court will abstain from
exercising its jurisdiction under Younger Doctrine. If the state
court matter has concluded, this court is without subject matter
jurisdiction under the Rooker-Feldman Doctrine. The only federal
court with authority to review the rulings of state courts is the

United States Supreme Court. Silva v. Massachusetts, 351 Fed.

 

Appx. 450, 454 (1st Cir. 2009) (28 U.S.C. § 1257 vests the United
States Supreme Court with exclusive jurisdiction over appeals from
final state-court judgments) (citations omitted).

Based upon the foregoing, the request to reopen is denied and
this case shall remain closed.
So ordered. Vittia.t0 C, |

Nathaniel M. Gorton
United States District Judge

Dated: October 2, 2020
